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EXHIBIT “A”
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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF GEORGIA

MACON DIVISION

ANNA LANGE, )

)

Plaintiff, )

)
Vv. ) CIVIL ACTION NO.
) 5:19-CV-00392-MTT

HOUSTON COUNTY, et al. )

)

Defendants. )

DECLARATION OF KENNETH CARTER

COMES NOW Kenneth Carter, and in accordance with 28 U.S.C. § 1746, hereby
declares as follows:

l.

My name is Kenneth Carter. I am over the age of twenty-one (21). Iam competent
to make this Declaration and have personal knowledge of the information set forth herein.
I understand that this Declaration is for use in connection with the above-captioned civil
action, and I give it freely for that purpose.

2.

I am the Director of Personnel for Houston County, Georgia. In that capacity, I
oversee all personnel administration for County employees. I also oversee the County’s
various benefit plans, including the health insurance plans. I interact regularly with both
staff of the County and its elected Commissioners. | also interact with vendors such as the
County’s insurance broker, Donna Clark, on issues related to health insurance matters.

Because of my involvement, I am familiar with the County’s health plan.
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3.

In my February 23, 202! deposition, I testified about a form (marked as Exhibit 4
to that deposition — Doc. 150-2) Anthem sent to the County’s insurance broker, Donna
Clark, which Clark then sent to me to show the County’s election regarding various plan
features, including a Nondiscrimination Mandate under Section 1557 of the Affordable
Care Act. Either Donna Clark or someone else filled in “No” for the Mandate and I signed
the form on December 19, 2018. At the time, I understood this form was sent as a standard
piece of documentation because the County’s plan is self-insured. When I signed the form,
I was not aware Sgt. Lange had met with a surgeon about having sex reassignment surgery
or that she had had any communications with Anthem about her request to have the surgery
covered under the County’s plan. This is, in fact, typical of my role regarding the plan. I
help answer simple questions from plan participants and dependents and route questions to
others if necessary. But I do not know of individual participants’ use of the plan — all
claims administration is handled by the plan’s third party administrator, Anthem.

4.

In an April 18, 2017 e-mail string with Donna Clark (at Doc. 150-5 at 71) to better
understand the Health Plan’s coverage of psychological treatments, I said I was “good with
nothing being covered” as to Clark’s assessment of what was covered. What I meant by
that phrase is that I understood Clark’s message, not that I was glad for the lack of coverage.

5.
The County has explained its concern with keeping down the overall cost of the

health plan. To put that in further context, the County’s annual budget is generally around

er
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$50 Million. At $10 Million to $12 Million, the health plan budget has grown over the
years to be roughly 20-24 percent of the County’s overall budget. While the County
recoups some of that amount through per capita fees it charges constitutional officers for
the participation of their employees, health plan spending is a significant and growing
percentage of the overall budget.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on this 2:2. day of December, 2021.

Par (bbc

Kenneth Carter
